USCA4 Appeal: 23-4509    Doc: 56        Filed: 11/29/2023   Pg: 1 of 2




                                                              FILED: November 29, 2023


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                         No. 23-4509 (L)
                                     (9:22-cr-00658-RMG-1)
                                     ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        RUSSELL LUCIUS LAFFITTE

                     Defendant - Appellant

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants the motion to extend filing time for opening brief and

        appendix. Any further request for an extension of time in which to file the opening

        brief and appendix shall be disfavored. The briefing schedule is extended as

        follows:

              Joint appendix due: 12/27/2023

              Opening brief due: 12/27/2023

              Opening/response brief due: 01/17/2024
USCA4 Appeal: 23-4509    Doc: 56        Filed: 11/29/2023   Pg: 2 of 2


              Response/reply brief due: 02/07/2024

              Reply brief (if any) due: within 10 days from service of response/reply brief

                                              For the Court--By Direction

                                              /s/ Nwamaka Anowi, Clerk
